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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 SARA AVIEL,

                Plaintiff,

        v.                                               Civil Action No. 25-0778 (LLA)

 SERGIO GOR, et al.,

                Defendants.


                       SUPPLEMENTAL NOTICE OF COMPLIANCE

       Defendants respectfully supplement their Notice of Compliance (ECF No. 14) by providing

the Court with the attached spreadsheet, which itemizes, in anonymized form, “the amount that

each grantee has received” during FY 2025. Order at 2 (ECF No. 13). Due to time constraints,

Defendants were not able to obtain this information prior to the Court’s 4:00 p.m. deadline.

 Dated: March 19, 2025                         Respectfully submitted,
        Washington, DC
                                               EDWARD R. MARTIN, JR., D.C. Bar #481866
                                               United States Attorney


                                               By: /s/ John J. Bardo
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